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FOR THE NORTHERN DIsTchT 0F rLLINoIs » .

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EASTERN DIVISION U'S_ MSTRICT COURT

THURMAN PAUL as the ) ` _ "
Administrator of the Estate of ) 0:2 C 30 5 5
CEDRIC A. PAUL, deceased and )
DONTE GARDNER, individually )

Plaintiff(s), )

VS. § J“dge=§iueee sears W masat-t
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LARRY DAVIS, MARK DOBROWOLSKI ) JURY DEMANDED
EDWAR.DS BIONI, DENNIS LEAKS )
AND THE CITY_ OF EVANSTON, ) _ 1

Defendant(s). ) BBEHETEB

2002
COMPLAINT APR 3 0

1. The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42
U.S.C. 1983 and 1988; 28 U.S.C. 1331 and 1343(3); and the Constitution ofthe
United States, and supplemental jurisdiction under 28 U.S.C. Section 1367.

PARTIES-

2. Plaintiff Thurman Paul sues as thel Administrator of the Estate of Cedric Paul.
Plaintit`f Donte Gardner sues on his own behalf. Thurrnan Paul is the natural
brother of Cedric Paul. Donte Gardner is the natural son of Cedric Paul.

3. Cedric Paul Was, at the time of his death, a 37 year old African American man, a
citizen of the United States and a resident of the City of Evanston.

4. Police Officers Larry Davis #124, Mark. Dobrowolski #128, Edward Bioni #256,
and Dennis Leaks #224, were employed by the City of Evanston. All defendants
were at all times relevant to this Complaint, acting within the scope of their

employment and under color of law. All defendants are being sued individually

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5. Defendant City of Evanston is a municipal corporation within the State of Illinois,
and Was, at all times relevant to this Complaint, the employer of Defendants

Ofticers Larry. Davis, Mark Dobrowoski, Edward Bioni, and Dennis Leaks.

FACTS

6. Cedric Paul resided at the mental health care facility, Albany Care Center
(hereinafter) “Albany”, in Evanston, Illinois.

7. Albany maintained, during all times relevant to this action, a policy, reffered to as
“code yellow” “to provide a safe and therapeutic environment.” According to this
policy, Albany employees or agents were instructed to use non-physical
interventions to redirect a resident experiencing agitation and aggressive behavior.
Albany’s policy further instructs that physical interventions may only be
implemented if all non-physical interventions have failed and the risk of danger to
resident or others is great

8. On July 13, 2000, Mr. Paul sought assistance regarding a radio dispute from
Albany employees including, Karen Madda, Louise Hull, Willie Canga, Ridgley
Coghlan, and other Albany employees, but no assistance was provided

9. Instead of providing assistance to Paul, at approximately 4:10-4:15p.m., a “code
yellow” was called summoning Albany employees to the seventh floor to calm

Paul.

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At approximately 4:30p.m., Albany employees administered a shot of Ativan to
calm Mr. Paul. Shortly after receiving the Ativan, Paul did calm down and
complied with directions by Albany employees, to sit in the day room.

Although Paul had been calm and no longer agitated for over two-hours, Albany
employees Tossi directed Coghlan, Thilges, Hill, Labahn, Madda, Conga and
Schneile Albany employees, alone with COMED agents, Rodriquez and Pedroza,
and Evanston police officers Davis, Dobrowolski, Biondi and Leaks, converged
on the Seventh floor and advised Paul that they were committing him to the
hospital.

When the paramedics and police arrived at approximately 6:40 p.m., Paul was
sitting quietly in the day room until approached about being committed at which
time he again explained his radio situation Offlcers Larry Davis, M.ark
Dobrolski, Edward Biondi, and Dennis Leaks, Paramedics James A. Rodriquez
and Brian Y. Pedroza and Albany staff employees Hull, Tossi, Madda, Labahn,
Coghlan, Schnelle, Canga and Thilges, all of whom blatantly disregarded the fact
that Paul had been calm for over two-hours, encouraged police and paramedics to
wrestle Mr. Paul to the ground.

Mr. Paul was then placed in a choke hold by Defendant Offrcer Larry Davis with
help from Defendant Officers Mark Dobrolski, Edward Biondi, Dennis Leaks and
paramedics James A. Rodriguez and Brian Y. Pedroz.

As a result, Mr. Paul’s wind pipe was broken. He was Subsequently transported to

Saint Francis Hospital where he was pronounced dead at 7:20 p.m.

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COUNT I

(42 U.S.C. sec. 1983 Excessive Force)
Plaintiff realleges paragraphs 1 through 14 above as though fully set forth herein.
The unjustified excessive force used by Evanston Police Officers Larry Davis,
Mark Dobrolski, Edwards Biondi, and Dennis Leaks was the direct and proximate
cause of Plaintift’s death. These acts by all of the Evanston Police Defendants
violated Plaintift’s Fourth Amendment right to be free from unreasonable
seizures; and 42 U.S.C. 1983.

WHEREFORE, Plaintiff demands $1,000,000 in compensatory damages against

these Defendants because these Defendants acted maliciously, willfully and/or wantonly,

$50,000 in punitive damages against Defendants, plus costs, attorneys’ fee, and such

other additional relief as this Court deems equitable and just.

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(42 U.S.C. Section 1983 Conspiracy)

Plaintiff realleges paragraphs l through 14 above as though fully set forth herein.
Diarme Renee Labahn summoned employees Louise Hull, Ridgely. Coghlan,
Jolynn Thilges, Karren Madda, Willie Canga, Denise Schnelle and contacted
Administrator Dennis Tossi to determine how to handle the situation Although
Paul had been calm for over two-hours, Tossi and the other employees decided to
call CoMed to transport Mr. Paul to the hospital. Albany Care Staff also called

The Evanston Police to intervene in the matter.

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Defendant Ofticers Larry. Davis, Mark Dobrowlski, Edward Biondi, Dennis
Leaks, Comed Transport employees J ames A. Rodriquez and Brian Y. Pedroza,
and Albany Care employees Dennis Tossi, Louise HulI, Dianne Renee Labahn,
Coghlan, Madda, Canga, Schnelle and Jolynn Thilges reached an understanding
and agreement that Mr. Paul should be restrained and transported to the hospital
Defendant Ofiicers Larry Davis, M.ark Dobrowlski, Edward Biondi, Dennis
Leaks and CoMed Transport employees J ames A. Rodriquez and Brian Y.
Pedroza forced Mr. Paul into a choke hold and crushed his windpipe. The
defendants course of conduct, alone with Rodriguez and Pedroza caused Mr.
Paul’s death.

Each defendant did reach this understanding and agreement, and did engage in
this course of conduct with the mutual purpose, objective, and knowledge that it
would deprive Cedric Paul of his rights, privileges and immunities, as guaranteed
by the Constitution and laws of the United States.

Additionally, said conspiracy/j oint action violated Cedric Paul’s Fourth
Amendment rights, under color cf law, in violation of 42 U.S.C. Section 1983,
and was a direct and proximate cause of his death

Acting in furtherance of this plan and conspiracy, all of the Defendants committed
overt acts, including, but not limited to the unjustifiable seizure as more fully

alleged in paragraphs 1-14. This course of conduct by the Defendants was done

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willfully, maliciously, intentionally, or with reckless disregard,- and directly and
proximately caused the death of Cedric Paul.

WHER.EFOR.E, the Plaintiff demands $1,000,000 in compensatory damages
against all Defendants Larry Davis, Edward Biondi, Dennis Leaks and Mark Debrowski
and because all Defendants acted maliciously, willfully and/or wantonly, $35,000 in
punitive damages, plus costs, attorney fees, and such other additional relief as this Court

deems equitable and just.

COUNT III
(42 U.S.C.1983 -» Donte Gardner’s Loss of Society)

1-14. Plaintiff realleges paragraphs 1 through 14 as though fully set forth herein.

15. The acts of defendants Larry Davis, Edward Bioni, Dennis Leaks and Mark
Debrowski as alleged above, and the resultant death of his father, Cedric Paul,
violated and deprived the Fourteenth Amendment right and liberty interest of
Donte Gardner in the continued society and companionship of his father.

16. Defendants’ acts were the direct and proximate cause of the injuries suffered by
the Plaintiff.

WHEREFORB, the Plaintiff, seeks $1,000,000 in compensatory damages against
Defendants Larry Davis, Edward Bioni, Dennis Leaks and Mark Debrowski to be
compensated for injuries caused by their intentions willful, wantonly, and
unconstitutional acts; $50,000 in punitive damages against each Defendant; attorney’s

fees and costs; and any additional relief this Court deems just and equitable.

COUNT IV
(Wrongful Death Claim Under Illinois Law Against Defendants Larry Davis,
Edward Bioni, Dennis Leaks and Mark Debrowolski)

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Plaintiffs allege and reallege paragraphs l through 14 as though fully set forth
herein.

Decedent was and is survived by one Adult son.

Decedent Cedric Paul was officially pronounced dead on July 13, 2000 at Saint
Francis Hospital in Evanston, Illinois.

Donte Gardner, beneficiary and next of kin of Cedric Paul, exercised due care at
all times material to this complaint.

The wrongful death due to the negligent and or willful and wanton misconduct of
the Defendants, proximately caused the injury and death of Decedent Cedric Paul,
in violation of Ill. Rev. Stat. Ch.70, Sec. 1,2.

Each and every next of kin, as named in or referred to in paragraph 19 has lost and
will continue to lose pecuniary support as a proximate result of the wrongful death
of Cedric Paul.

WHEREFORE, Plaintiff Thurman Paul, on behalf of the estate of Cedric Paul,

demands compensatory damages in excess of $50,000 against the defendants, the costs of

this action, and such other relief as this court deems just and equitable

COUNT VII

(State Claim for Respondeat Superior)

l-l4.Plaintiff realleges paragraph l through 14 as though fully set forth herein.

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The City of Evanston, was at all times relevant to the Plaintifi’ s claim, the
employer of ofiicers, Larry Davis, Mark Dobrowlski, Edward Biondi, and Dennis
Leaks who were acting within the scope of their employment as Evanston Police
Officers when they used excessive force against the Plaintiff.

The Defendant City of Evanston as principal is liable for the willful and wanton

actions of its agents under the doctrine of Respondeat Superior.

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WHEREFORE, the Plaintiff demands in excess of 3100,000 in actual and
compensatory damages against the defendant City of Evanston, the costs of this action,

and such other relief as this Court deems just and equitable.

PLAINTIFF l)EMANDS TRIAL BY JURY ON ALL COUNTS

Dated: Respectfully Submitted.
Standish E. Willis
Attorney for Plaintiff

Law Office of Standish E. Willis
407 S. Dearborn Street-Suite 1395
Chicago, Iilinois 60605
312-554-0005

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